Case 9:19-cv-00006-RC-KFG Document 18 Filed 03/25/19 Page 1 of 4 PageID #: 191



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

JOHN DOE,                                      §
                                               §
         Plaintiff,                            §
                                               §
v.                                             §       CIVIL ACTION NO. 9:19-cv-00006-KFG
                                               §       JURY
STEPHEN F. AUSTIN STATE                        §
UNIVERSIT, STEVE                               §
WESTBROOK, Ed.D. IN HIS                        §
OFFICIAL CAPACITY                              §
AS INTERIM PRESIDENT, DR.                      §
MICHAEL WALKER, INDIVUALLY                     §
AND DR. PEGGY S. SCOTT,                        §
INDIVIDUALLY                                   §
                                               §
         Defendants.                           §


      PLAINTIFF’S MOTION TO RECONSIDER THE PROVISION OF THE ORDER
                   GOVERNING PROCEEDINGS RELATING TO
          THE DISMISSAL OF CLAIMS OF FICTITIOUS PARTIES [Dkt #13]

         COMES NOW Plaintiff John Doe (Plaintiff) and files this Motion to Reconsider the

Provision of the Order Governing Proceedings Relating to the Dismissal of Claims of Fictitious

Parties [Dkt #13] and in support thereof, Plaintiff shows:

                                             I. FACTS

         1.     Under the terms of Order Governing Proceedings dated March 6, 2019, [Dkt #13],

this court ordered that this action be dismissed as to all fictitious parties without prejudice to the

rights of any party to take advantage of the provisions of Federal Rule of Civil Procedure 15(c). 1

By text entry of March 13, 2019, this Court granted leave for Plaintiff to file his Second Amended




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    ECF 13-6.
                                                   1
Case 9:19-cv-00006-RC-KFG Document 18 Filed 03/25/19 Page 2 of 4 PageID #: 192



Complaint brought by Plaintiff under the pseudonym “John Doe”. Plaintiff respectfully requests

this Court’s reconsideration of the provision in its March 6th order dismissing fictitious parties.


           2.     Plaintiff is a former student at Stephen F. Austin State University. See Plaintiff’s

Second Amended Complaint (Complaint). [Dkt #15] Plaintiff is a male who, by separate motion,

is requesting the Court’s permission to proceed under the pseudonym John Doe. Requiring

Plaintiff to proceed without the benefit of pseudonym would irreparably damage important privacy

interests of the Plaintiff.

           3.     Plaintiff is seeking permission of the Court to proceed anonymously given

the extremely sensitive and private nature of the matters alleged herein and to comply with

Stephen F. Austin State University's requirement that disciplinary proceedings be kept

confidential. Consistent with the protection Plaintiff seeks for himself, Plaintiff refers to the

female complainant in the underlying student disciplinary proceeding as "Jane Roe" and the

witnesses the investigative team interviewed as CW# or RW#, as they were identified in the

Stephen F. Austin State University Title IX Investigator’s Report. A ll D e f e nda nts a r e

fully aware of the actual identities of John Doe, Jane Roe and the witnesses, and will not be

prejudiced in any way by use of those pseudonyms for public filings. Upon information ant

belief, all Defendants will be represented by the Attorney General.

           4.     Plaintiff requests the Court reconsider and vacate that portion of this Court’s Order

Governing Proceedings [Dkt #13] that dismissed this action as to all fictitious parties.

                                    CONCLUSION AND PRAYER

           Plaintiff respectfully requests that this Court grant his request to vacate that provision of

the Order Governing Proceedings relating to the provision dismissing the claims of fictitious

parties.


                                                     2
Case 9:19-cv-00006-RC-KFG Document 18 Filed 03/25/19 Page 3 of 4 PageID #: 193



      Dated March 25, 2019.

                                    Respectfully submitted,

                                    TATE MOERER & KING, LLP

                                    /s/ Richard L. Tate
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                                       3
Case 9:19-cv-00006-RC-KFG Document 18 Filed 03/25/19 Page 4 of 4 PageID #: 194



                                CERTIFICATE OF SERVICE
        I hereby certify that on March 25, 2019, I electronically filed the foregoing with the Clerk
of the Court via the CM/ECF system, which will serve a notice of electronic filing to the following:

Ken Paxton
Attorney General of Texas
Benjamin S. Lyles
Assistant Attorney General
General Litigation Division
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ATTORNEYS FOR DEFENDANTS



                                              /s/ Richard L. Tate
                                              Richard L. Tate




                             CERTIFICATE OF CONFERENCE
        The undersigned counsel certifies that he has complied with the meet and confer
requirement in Local Rule CV-7(h) prior to filing this motion by email with Defendants’ counsel
the office of the Attorney General on March 22, 2019 and counsel for Defendants advised him that
the Defendants take no position on this Motion to Reconsider; therefore, the discussion has ended
in an impasse, leaving an open issue for the court to resolve.




                                             /s/ Richard L. Tate
                                             Richard L. Tate




                                                 4
